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STATE OF MAINE SUPERIOR COURT
YORK, ss CIVIL ACTION
DOCKET NO.: cyv-be~ be

BERTRAND GIRARD, of Hollis,
York County, Maine,

PLAINTIFF,

v. COMPLAINT

STEPHEN DODD of Lakeland, Polk County, (WITH DEMAND FOR JURY TRIAL)

Florida,

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In his Individual Capacity,

ROGER BEAUPRE, of Biddeford, York
County, Maine,

In-his Official Capacity as Chief of Police
For the Biddeford Police Departmerit and in
His Individual Capacity,

and,

CITY OF BIDDEFORD,
a municipality in the State of Maine,

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DEFENDANTS.

NOW COMES Plaintiff and hereby complains against Defendants as follows:
PRELIMINARY STATEMENT
1, Bertrand Girard was sexually assaulted by Biddeford Police Officer Stephen
Dodd between 1977 and 1982. Steven Dodd used his power and authority as a law enforcement
officer to gain access to Bertrand Girard and to obtain Bertrand Girard’s trust to sexually abuse

Bertrand Girard and to ensure Bertrand Girard’s silence about Stephen Dodd’s abuse. Chief
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Roger Beaupre was Chief of the Biddeford Police Department before, during, and after Bertrand
Girard was sexually abused by Stephen Dodd. Chief Roger Beaupre was given inforination prior
to Stephen Dodd’s abuse such that he was aware of and/or should have been aware that Stephen
Dodd and at least one other Biddeford police officer had been and were sexually abusing young
boys, including Bertrand Girard. As Chief, Roger Beaupre ignored this information and failed to
prevent the abuse. Chief Roger Beaupre’s failure to act meant that Stephen Dodd was able to
sexually assault Bertrand Girard. Bertrand Girard brings this action against Stephen Dodd, Chief
Roger Beaupre and the City of Biddeford pursuant to 42 U.S.C. § 1983.

PARTIES

2. Plaintiff Bertrand Girard (“Girard”) is an individual residing in Hollis, Maine.

3. At all times relevant to this Complaint, Girard was a minor residing in Biddeford,
Maine.

4, Defendant Stephen Dodd (“Officer Dodd”) is an individual residing, on
information and belief, in Lakeland, Florida.

5. At all times relevant to this Complaint, Officer Dodd was a police officer with the
Biddeford Police Department (“BPD”) and was acting under color of state law as a BPD police
officer employed by BPD and the City of Biddeford, Maine,

6. Defendant Roger Beaupre (“Chief Beaupre”) is the Chief of Police for BPD and

was the Chief of Police for BPD at afl times relevant to this Complaint and was acting under

color of state law as the Chief of BPD.
7. Defendant Chief Beaupre is and was the final policy maker for BPD.

g, Defendant City of Biddeford is a municipality in the State of Maine.
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9. Defendants Chief Beaupre, in his Official Capacity as. Chief of BPD, and City of
Biddeford are collectively referred to as “Municipal Defendants,”
STATEMENT OF FACTS
10. Between 1977 and 1978 when Girard was 13 to 14 years old and in middle

school, he was first sexually abused by Officer Dodd.
11. Girard first met Officer Dodd at Girard’s home during 1977, when Officer Dodd

brought Girard’s brother home.

12, During the visit, Officer Dodd learned that Girard’s mother was sick with
epilepsy and that his father, a truck driver and alcoholic, was away from home quite.a bit.

13. Officer Dodd befriended Girard and would routinely stop by Girard’s home te
check up on Girard and his family.

14. Officer Dodd would arrive at Girard’s home in his police vehicle.

15. Officer Dodd learned that Girard’s mother and father divorced.

16. Officer Dodd offered to buy clothes for Girard, and did buy clothes for Girard.

17. Officer Dodd enticed Girard with his new Chevrolet Camaro and would pick
Girard up and take him for rides and give Girard cases of beer.

18. Officer Dodd would allow. Girard-and Giratd’s younger brother to drive the
Camaro, both of whom were underage.

19. Officer Dodd invited Girard to live with him on Taylor St. in Biddeford, Maine.

20. Girard did move in with Officer Dodd at his ‘Taylor St. home.

21 . Girard looked up to Officer Dodd and respected him as a law enforcement officer

in the community.
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22, Officer Dodd stocked the household refrigerator with alcohol and would drink
with Girard.

23. One night, after Girard had passed out from drinking too much, Girard woke tip
and found himself naked in Officer Dodd’s bed, and Officer Dodd was on top of Girard,

performing oral sex on Girard.

24. Between 1977 and 1982, Officer Dodd supplied Girard with clothing, food,
alcohol and drugs that he confiscated while on duty at BPD, in order to entice Girard to perform
sexual acts on Officer Dodd.

25.  Onsome occasions, the sexual assaults occurted while Officer Dodd was in full

BPD uniform.

26, Between 1977 and 1982, Officer Dodd sexually assaulted Girard by forcibly
Inserting his penis into Girard’s anus.

27. Between 1977 and 1982, Officer Dodd forced Girard to perform oral sex on him.

28 Between 1977 and 1982, Officer Dodd forced Girard to manually stimulate his
penis to the point of ejaculation.

29. Between 1977 and 1982, Officer Dodd masturbated in front of Girard.

30. Between 1977 and 1982, Officer Dodd would come home duting his shift while
Girard was asleep and perform oral sex on Girard while in full uniform.

31. Onmore than one occasion, Girard awoke while Officer Dodd was performing

oral sex in fuli uniform and Officer Dodd would point to his mouth and tell Girard to keep quiet

and point to. his police radio.
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32, Girard was arrested for an alleged crime in Old Orchard Beach and Officer Dodd
showed up at the police station, authorized Girard’s release from the jail, tore up the summons

and told Girard he didn’t have to appear in court.

33. Overtime, when Girard got in trouble with the law, Officer Dedd would teil

Girard to hide at his home.
34, Officer Dodd used his power and authority as a BPD officer to earn Girard’s trust,
sexually assault Girard and prevent Girard from disclosing the sexual assaults.

35. When Girard would iry to keep his distance from Officer Dodd, he would lure

Girard back with alcohol, drugs, shelter and money.

36. Upon information and belief; prior to.the time that Officer Dodd sexually
assaulted Girard, information had been conveyed to Chief Beaupre that Officer Dodd and at least
one other BPD officer had committed sexual acts against minors in Biddeford.

37. | Upon information and belief, Officer Dodd had been engaged in so many sexual
assaults against minors in Biddeford that Chief Beaupre knew and/or should have known that
Officer Dodd was a pedophile, was dangerous to young men and should not be a BPD police
officer.

38. Chief Beaupre knew and/or shiould have known that BPD officers ‘were sexually
assaulting minors based on the information that he was given, including but not limited to
Officer Dodd’s sexual abuse of minors.

39. Despite receiving this information, Chief Beaupre took no steps to protect Girard

or other minors in Biddeford from the sexual assaults.
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CLAIMS FOR RELIEF
Count I
42 U.S.C. § 1983
(Officer Dodd in his Individual Capacity)

40, Girard repeats and realleges Paragraphs 1 through 39 as if set forth fully herein.

41,  Atall times relevant to this Complaint, Girard had a Constitutional right of liberty
of bodily integrity, including but not limited to a right to be free ftom sexual assault by BPD
police officers.

42. Officer Dodd was acting under color of state law when he sexually assaulted
Girard on numértous occasions.
43, Officer Dadd’s sexual assaults were a direct deprivation of Girard’s

Constitutional right to liberty of bodily mtegrity and to be free from sexual assault.

44, Asaresult of Officer Dodd’s actions, Girard suffered damages, including but not
limited to severe psychological damages, post-traumatic stress disorder, pain, suffering,
humiliation, embarrassment, lost wages and permanent impairment.

COUNT I
42 U.S.C. § 1983
(Chief Beaupre in his Individual Capacity)

45. Girard repeats and realleges Paragraphs ! through 44 as if set forth fully herein.

46.  Atall times relevant to this Complaint, Girard had a Constitutional right of liberty
to bodily integrity, including but not limited to a freedom from sexual assault by BPD police

_ officers,

497. Officer Dodd was a subordinate to Chief Beaupre at all times relevant to this

Complaint.
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48. Officer Dodd violated Girard’s Constitutional rights, as previously set forth

herein.

49. Chief Beaupre’s failure to investigate complaints against Officer Dodd and/or
supervise Officer Dodd’s misconduct constituted supervisory encouragement, condonation or
acquiescence, amounting to deliberate indifference.

50. Chief Beaupre’s actions and/or inactions described herein were affirmatively
linked to Officer Dodd’s violation of Girard’s Constitutional rights.

51. Girard did not know and had no teason to know that the deliberately indifferent
and/or omissions of Chief Beaupre were the cause of his injuries and the violations of his

Constitutional rights.

52, As aresult of Chief Beaupre’s actions and inactions Girard suffered damages,
including but not limited to severe psychological damages, post-traumatic stress disorder, pain,

suffering, humiliation, embarrassment, lost wages and permanent impairment.

COUNT II
42 U.S.C. § 1983
(Municipal Defendants)

53. Girard repeats and realleges Paragraphs | through 54 as if set forth fully herein.

54, At all times relevant to this Complaint, Girard had a Constitutional right of liberty
to bodily integrity, including but not limited to a freedom from sexual assault by BPD police
officers.

55. With deliberate indifference to the right of minor citizens to be free from

invasions of bodily integrity and sexual assault by police, the Municipal Defendants encouraged,

tolerated, ratified, and acquiesced to a dangerous environment of sexual assaults agatnst
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underage males by BPD officers by failing to conduct sufficient training or supervision; failing
to adequately punish acts of sexual assault; and failing to properly or neutrally investigate citizen

complaints of sexual assault of minors.

56. Officer Dodd and at least one other BPD officer engaged in a continuing,
widespread and persistent pattern of conduct in violation of citizens’ constitutional rights to
bodily integrity and freedom from sexual assault. .

57. At all times relevant to this Complaint, it was the longstanding widespread
deliberately indifferent custom, habit, practice and/or policy of the Municipal Defendants to
permit BPD officers to sexually assault minors, to fail to supervise BPD officers who were
sexually assaulting minors, and to fail to investigate reports of sexual assaults by BPD officers

knowing that these members of law enforcement posed a significant risk to the public.

58. These deliberately indifferent customs and/or tacit authorizations of the Municipal
Defendants were the causes of the injury to Girard’s Constitutional rights to liberty of bodily

integrity and right to be free from sexual assaults by BPD officers.

59, Girard did not know and had no reason to know that the deliberately indifferent
actions and/or omissions of the Municipal Defendants were the cause of his injuries and the
violations of his Constitutional rights.

60. Girard was injured by the Municipal Defendants’ deliberate indifference to the
violations of his Constitutional rights.

61.  Asaresult of the Municipal Defendants’ actions and inactions, Girard suffered
damages, including but not limited to severe psychological damages, post-traumatic stress

disorder, pain, suffering, humiliation, embarrassment, lost wages and permanent impairment.

 
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COUNT IV
NEGLIGENT SUPERVISION
(Municipal Defendants)

62. Girard repeats and realleges Paragraphs 1 through 61 as if set forth fully herein.

63.  Atall times relevant to this Complaint, a special relationship existed between the
Municipal Defendants, who were trusted and empowered fo protect minor citizens of Biddeford,
including Girard, who are more vulnerable than adults.

64. | Thete was a disparity of power and influence between the Municipal Defendants
and Girard, |

65,  Asaresult of these circumstances, there was a reasonable basis for Girard to
place trust and confidence in the Municipal Defendants.

66. Girard in fact placed trust and confidence in the Municipal Defendants.

67, The Municipal Defendants knew or should have known that Officer Dodd posed a
substantial risk of harm to Girard.

68. Under these circumstances the Municipal Defendants owed a duty to protect
Girard,

69. The Municipal Defendants failed to exercise their duty of care to protect Girard.

70. The Municipal Defendants’ failure to exercise their duty of care caused injuries to
Girard.

71.  Asaresult of the Municipal Defendants’ breach of duty, Girard suffered damages,
including but not limited to severe psychological damages, post-traumatic stress disorder, pain,
suffering, humiliation, embarrassment, lost wages and permanent impairment.

WHEREFORE, Plaintiff requests that this Court order the following:

 
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Compensatory damages against each Defendant jointly and severally on all
counts,

Punitive damages against Defendants Stephen Dodd and Roger Beaupre
jointly and severally.

Punitive damages against the Municipal Defendants on Count IV.
Reasonable attorney’s fees and costs pursuant to 42 U.S.C. § 1983.

Any other relief that this this Court deems just and proper.

JURY DEMAND

Girard demands a trial by jury on all counts of his Complaint.

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Date: frifie

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